Case 2:04-cr-20086-.]PI\/| Document 54 Filed 07/14/05 Page 1 of 2 Page|D 86

/;;_°.c.

IN THE UNITED STATES DIS'I‘RICT @YR$.Fv du

FOR THE WESTERN DISTRICT OF TENNES .
E\t. va \~39

WESTERN DIVISION

 

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KUQNHMIEU“
UNITED STATES oF AMERICA, * CUB, »__ ~
* W{'D C;_'z- ZeN.`.M
Plaintiff, *
* Cr. NO. 04~20086-M1;An
vs. *
ok
KEVIN AGEE, *
ir
Defendant. *
oRDER

 

Upon motion of the United States, it is hereby ORDERED that
Counts 2 and 3 Of the indictment against the defendant is hereby

dismissed.

ENTERED this ij day Of July, 2005.

/Q~QUL“M

JON HE§#SZH§€ALLA

Unit d States District

 

Thts document entered on the docket Sheeti com Hance
With Ht.t|e 55 and/or 32(b) FRCrP on ‘z'Hr|::fE~§

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Honorable J on McCalla
US DISTRICT COURT

